 Case: 7:13-cr-00021-KKC-EBA          Doc #: 815 Filed: 09/01/17         Page: 1 of 1 - Page
                                         ID#: 2250



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                 AT PIKEVILLE


UNITED STATES OF AMERICA,                            CRIMINAL ACTION 7:13-21-KKC
       Plaintiff,

V.                                                                 ORDER

KRISTIN MARIE CAMPBELL,


       Defendant.



                                           *** *** ***

     This matter is before the Court on a report and recommendation in which the Magistrate

Judge makes certain recommendations regarding the defendant’s admitted violations of the terms

of her supervised release (DE 786). No party has filed objections to the recommendation and the

defendant has waived her right to appear before the district judge and to make a statement and

present mitigating information (DE 783).

     Accordingly, the Court hereby ORDERS that the report and recommendation is ADOPTED

as the Court’s opinion. The Court will enter a judgment consistent with the recommendation.

     Dated September 1, 2017.
